                                         United states Department of Agriculture



Animal and Plant        July 11, 2013
Health Inspection
Service                 Pamela Sellner
                        1512 - 210'h St.
Animal Care
                        Manchester, lA 52057
Western Region

2150 Centre Avenue      Dear Ms. Sellner:
Building B, 3W11
Fort Collins, CO
80526                    I am writing in response to your letter dated June 24, 2013 in which you appeal some of
Phone: 970/494-7478      the findings of your June 12,2013 inspection report. After review of your appeal and
Fax: 970/494-7461.
                         consultation with the inspector, the inspection report and associated documentation
                         were evaluated for appropriateness and consistency with the program
                    ----practices/procedures <111!Ttlle regwat;onsarnl stanaarils-as-contained in Title 9 ofthe --o - - - - -   -

                         Code of Federal Regulations, Chapter 1, Subchapter A.

                        The findings are as follows:

                        With regard to the citation of Section 2.40 (b)(2): This non-compliant item is consistent
                        with program guidance and practices and will remain as written.

                        With regard to the citation of Section 3.10: This non-compliant item and the
                        photographic evidence submitted by the inspector are consistent with program
                        guidance and practices and will remain as written.

                        With regard to the citation of Section 3.127 (d): This non-complaint item and the
                        photographic evidence submitted by the inspector are consistent with program
                        guidance and practices and will remain as written.

                        If you wish to appeal this determination to the Regional Director, please know that if
                        we do not hear from you within 30 days, the inspection report will be posted online at
                        thattime.

                        I hope this.letterhas satisfactorily addressed your concerns. If you nave any further
                        questions regarding .the Animal Welfare Act and its regulations and standards, please
                        feel free to address them in writing at the above address.




           ;1R~~ fr.<~~/L
                        Katheryn Ziegerer, tvM
                        Supervisory Veterinary Medical Officer
                        Omaha, NE
                        USDA-APHIS-Animal Care Western Region




                       An Equal Opportunity Provider and Employer
                                                                                       Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 6 of 7
                                                             Case #C14-02034-JSS              EXHIBIT 75 PAGE 0001
